   Case 18-02054-hb        Doc 127  Filed 10/10/19 Entered 10/10/19 09:01:28               Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH CAROLINA

In Re:                                                 Case No. 18-02054-HB
                                                       Chapter 7
Chandelle Runway, LLC
xx-xxx6904
          Debtor.



                                     NOTICE OF OVERBID
The Trustee has been informed that Doug Cobb and John Stewart have submitted an overbid for
$100,000.00

Wherefore, the Trustee requests that the Court hear this matter October 29, 2019 as set forth in the
Notice of Sale (Docket #125)


Dated: October 10, 2019       /s/     John K. Fort

                                      John K. Fort, Chapter 7 Trustee
                                      P. O. Box 789
                                      Drayton, SC 29333
                                      (864) 237-8284
                                      johnkfort@gmail.com
                                      District Court ID 863
   Case 18-02054-hb          Doc 127         Filed 10/10/19 Entered 10/10/19 09:01:28               Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF SOUTH CAROLINA

In Re:                                            )
                                                  )
CSC Developers, Inc.                     )                Case Number 18-02053-HB
                         Debtor                   )             Chapter 7


                               ORDER AUTHORIZING SALE OF ASSET

        This proceeding comes before the Court on the Application of the Trustee for authority to sell the
Estate’s interest in: All that lot or parcel of land, with the buildings and improvements thereon, if any, located in
Spartanburg County, South Carolina, and being identified as approximately 10.52 acres as described on survey by
Souther Land Surveying dated August 19, 2015 and located at the corner of Hwy 101 and Chandelle Ridge Dr,
Woodruff, SC and being a portion of Spartanburg County Tax Parcel Identification # 4-05-00-038.53 for
$425,000.00

        The Court has been informed that all parties in interest have been notified of the intention to sell
said property, and that no objection to the proposed Sale has been received or filed by any party in the
office of the Clerk of this Court. The Trustee has represented to the Court that such sale is in the best
interest of Creditors of the Estate. If the Sale does not close within 30 days of the date of this Order,
the Trustee reserves the right to sell the property to a backup purchaser on the same terms and purchase
price as stated in the Notice of Sale without further notice. The identity of the backup purchaser shall
be disclosed in the Report of Sale filed with the Court. If the backup purchaser is an insider, the
Trustee shall notify the United States Trustee prior to proceeding with the backup Sale.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED, that the Trustee is authorized
to sell and to convey the Estate's interest in the above-described property,

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that the automatic 14-day stay
provided by Fed. R. Bankr. P. 6004(h) does not apply to this Sale.

For the Application:
/s/     John K. Fort
John K. Fort, Chapter 7 Trustee
P.O. Box 789
Drayton, SC 29333
(864) 237-8284
